                 Case 9:21-cv-00088-BMM
COLE, et al. v. MONTANA UNIVERSITY SYSTEM, et Document   36-5
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                                                                                      RHONDIE VOORHEES


                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION
 CATHERINE COLE, BARBARA                                  )
 KOOSTRA, MARY-ANN SONTAG                                 )
 BOWMAN, and                                              )
 RHONDIE VOORHEES,                                        )
                                                          )
               Plaintiffs,                                ) Case No. 21-88-M-BMM
                                                          )
       -vs-                                               )
                                                          )
 MONTANA UNIVERSITY                                       )
 SYSTEM, UNIVERSITY OF                                    )
 MONTANA-MISSOULA,                                        )
 and JOHN DOE DEFENDANTS                                  )
 1-50,                                                    )
                                                          )
               Defendants.                                )
                                                          )


                   Taken at 235 East Pine
                       Missoula, Montana
           Thursday, February 17, 2022 - 8:53 a.m.



                               VIDEOTAPED DEPOSITION
                                                  OF
                                    RHONDIE VOORHEES




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 2   Sherine D. Blackford, Esq.                                                       Protected material                  137
     Hillary P. Carls, Esq. (not appearing)
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     602 West Lamme Street                                                       4   Deposition Exhibit Number 33
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 5   carls@blackfordcarls.com                                                        Deposition Exhibit Number 34
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10   Missoula, Montana 59807-9440                                                     "Reorganization" - Summer/Fall 2018
     susan@wmslaw.com hannah@wmslaw.com                                         13
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 1        A. She worked in enrollment.                       1       A. Well, and I'm an example of that.
 2       Q. And did she resign?                              2       Q. Right. And I understand that's your
 3        A. Eventually, but under very difficult            3   position. I'm asking about anyone other than the
 4   circumstances after her position was -- she was         4   named Plaintiffs that you're aware of.
 5   moved and her position was moved -- I mean,             5       A. And again, when you say terminated the
 6   eliminated.                                             6   position, do you mean eliminated the position like
 7       Q. And when did she resign?                         7   they eliminated the Dean of Students' position or
 8        A. So that was when Teresa Branch was still        8   they were terminated from their position?
 9   there, so it would have been in probably 2013 or        9       Q. And -- and it's your position as to who
10   2014.                                                  10   these putative class members are so I want to know
11       Q. And do you know that she resigned               11   what you think.
12   because she experienced harassment, retaliation or     12          It strikes me that your position was
13   discrimination on the basis of sex or do you           13   eliminated and you consider yourself a member of
14   believe that?                                          14   this class, correct?
15        A. No, I'm -- Through a personal                  15       A. Yes.
16   conversation with her, I'm fairly certain that she     16       Q. So I think it's probably the broader
17   retained counsel and claimed discrimination on the     17   definition, but it's -- you're the one making the
18   basis of gender and ethnicity.                         18   claim.
19       Q. And when did you have that conversation         19       A. I think Laurie Fisher. I suspect
20   with her?                                              20   Laurie Fisher falls into that category.
21        A. It would have been around that time,           21       Q. Okay. So she didn't resign; they
22   sometime in probably 2013 or '14.                      22   terminated her position?
23       Q. Okay. Anyone else that you're aware of          23       A. I believe that's correct.
24   that you believe was forced to resign because they     24       Q. Okay. Anyone else?
25   experienced harassment, retaliation or                 25       A. Not that I can think of right now.

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 1   discrimination on the basis of sex?                     1         Q. And how about anyone, then, that you're
 2       A. Not that I can think of right now.               2   personally aware of that you believe experienced
 3       Q. Okay. How about anyone that you're               3   harassment, retaliation or discrimination on the
 4   aware of other than the named Plaintiffs who you        4   basis of sex since -- and was employed by the
 5   believe either the University of Montana or             5   University of Montana, Montana University System
 6   Montana University System terminated their              6   since 2013 and that the Defendants created no or
 7   position and -- because they -- and they                7   limited options for professional growth, other
 8   experienced harassment, retaliation or                  8   than the named Plaintiffs?
 9   discrimination on the basis of sex?                     9         A. Well, another person I would add to the
10          MS. BLACKFORD: And I'll insert the same         10   list is Emily Ferguson-Steger.
11   objection.                                             11         Q. And is she still employed at the
12          MS. MORIARITY MILTKO: And understand            12   University?
13   we've got that understanding.                          13         A. In a different position is my
14       Q. (BY MS. MORIARITY MILTKO) I want your           14   understanding, yes.
15   personal knowledge.                                    15         Q. And have you spoken with her about that?
16       A. When you say "terminated their                  16         A. I've spoken with her about the shift in
17   position," do you mean -- could you please clarify     17   her position.
18   that?                                                  18         Q. Anyone else?
19       Q. Well, I'm reading from your Complaint.          19         A. I believe that it may apply to
20       A. Uh-huh.                                         20   Cindy Williams. I think her last name is
21       Q. And it says people -- that the suit is          21   Williams. The director of the Foundation.
22   being brought by -- on behalf of people who the        22         Q. And have you spoken to her about that?
23   Defendants terminated their position and               23         A. No.
24   experienced harassment, retaliation and/or             24         Q. Anyone else that you are personally
25   discrimination on the basis of sex.                    25   aware of?


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 1         A. Nobody else that I can think of. Oh,           1   preparation for my grievance hearing that he had
 2   I'm -- Well, Peggy Nesbitt.                             2   never sought my position description from HR, so
 3        Q. And what was Peggy Nesbitt's position?          3   he didn't even know what I did.
 4         A. Associate Dean of one of the colleges,         4       Q. So is it based on his testimony at the
 5   the one with music. I don't remember what they          5   grievance that he had spoken with University
 6   call it now.                                            6   counsel and his supervisor before -- before
 7        Q. And what's your understanding of how her        7   deciding to eliminate your position?
 8   professional growth was limited by the Defendants?      8       A. My recollection of that conversation is
 9         A. My understanding is that she experienced       9   that one of the grievance members asked him who he
10   harassment and gender discrimination.                  10   consulted prior to making the decision to
11        Q. And what's your basis for believing            11   eliminate the Dean of Students' position, and he
12   that?                                                  12   responded -- I don't remember exact words, but he
13         A. A personal conversation.                      13   responded with the legal counsel and the
14        Q. And how was her professional growth            14   President -- his supervisor, the President.
15   limited by the University?                             15       Q. Do you have any other information
16         A. Well, I think anytime a woman                 16   that -- upon which you base your assertion that
17   experiences harassment or discrimination in the        17   Jon Harbor discriminated against you on the basis
18   workplace your growth is limited.                      18   of gender?
19        Q. Are you aware if she failed to get a           19       A. Well, Jon Harbor was the one who carried
20   position or was overlooked for a position or           20   out my nonrenewal.
21   anything like that?                                    21       Q. Right, but I think you said that was
22         A. No, I'm not.                                  22   carrying out Lucy France's retaliation. You now
23        Q. Who are the individuals at the                 23   told me because he said he consulted with her and
24   University of Montana that you believe                 24   his supervisor before nonrenewing you.
25   discriminated against you on the basis of gender?      25          I'm asking if there's any other basis.

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 1        A. Seth Bodnar.                                    1       A. No.
 2        Q. Is that based on the elimination of your        2       Q. Anyone else that you believe
 3   position?                                               3   discriminated against you on the basis of sex at
 4        A. Yes.                                            4   the University of Montana?
 5        Q. Anyone else?                                    5       A. Well, I think it was -- it was systemic
 6        A. Lucy France.                                    6   and it was -- I don't believe the grievance
 7        Q. And is that based on her handling of            7   process was fair. I don't believe that it gave me
 8   your student conduct cases?                             8   an adequate and fair opportunity.
 9        A. No. It was based on the ultimate                9          Scott Whittenburg served as the chair of
10   retaliation and the elimination of my position.        10   the grievance committee --
11        Q. Anyone else?                                   11       Q. Can I slow you down on the grievance
12        A. Jon Harbor.                                    12   process not being fair?
13        Q. And explain that for me. Again, the            13       A. Sure.
14   elimination of your position?                          14       Q. Is the grievance process utilized for --
15        A. Yes.                                           15   regardless of whether the grievant is male or
16        Q. And when you say that you believe              16   female?
17   Jon Harbor eliminated your position on the basis       17       A. I believe so.
18   of sex, explain that to me.                            18       Q. And you say having Scott Whittenburg as
19        A. Well, I believe that Jon Harbor carried        19   the chair.
20   it out, and I believe that that was the wishes of      20          Is that bias on the basis of sex?
21   Lucy France and Seth Bodnar.                           21       A. My view is that the process, the entire
22        Q. And what's your basis for believing            22   process, was unfair and retaliatory.
23   that?                                                  23       Q. Okay.
24        A. Well, he pretty much shared that in the        24       A. And he was the chair of that process.
25   grievance. I had never met him. I did confirm in       25       Q. And the other members of that committee


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